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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CHRISTPOHER STREBEL and TRACY                         )
HENNING,                                              )
                                                      )
               Plaintiffs,                            )      No. 24 C 968
                                                      )
               v.                                     )      Judge Robert W. Gettleman
                                                      )
SCOULAR, f/k/a THE SCOULAR                            )
COMPANY, INC.                                         )
                                                      )
               Defendant.                             )


                             MEMORANDUM OPINION & ORDER

        Plaintiffs Christopher Strebel (“Strebel”) and Tracy Henning (“Henning”) (collectively,

“plaintiffs”) brought a four-count second amended complaint against defendant Scoular, f/k/a the

Scoular Company, Inc. (“defendant”). Count I alleges a citizen’s suit under § 7604(a)(1) of the

Clean Air Act (“CAA”), 42 U.S.C. § 7604(a)(1); Count II alleges a citizen’s suit under the §

7604(a)(3) of the CAA, 42 U.S.C. § 7604(a)(3); Count III alleges private nuisance; and Count IV

alleges negligence. This court previously granted defendant’s motion to dismiss Count II (Doc.

35). Before the court are plaintiffs’ motion to reconsider that ruling (Doc. 36), plaintiffs’ motion

to strike affirmative defenses (Doc. 41), and plaintiffs’ motion to dismiss counterclaims (Doc.

42). For the reasons discussed below, plaintiffs’ motion to reconsider is denied, plaintiffs’

motion to strike affirmative defenses is granted in part and denied in part, and plaintiffs’ motion

to dismiss counterclaims is granted in part and denied in part.


                                        BACKGROUND

       According to the factual allegations in plaintiffs’ second amended complaint, plaintiffs



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seek injunctive relief and damages arising from allegedly unabated fugitive grain dust emissions

from defendant’s grain-handling facility in Andres, Illinois, which they complain is polluting the

neighboring property owned by Strebel for over 20 years. Both plaintiffs state that they live at

the property (a single-family home and land).

       Plaintiffs allege that from 1913 through February 27, 2013, the Andres & Wilton Farmers

Grain and Supply Company (“Andres & Wilton”) operated a grain elevator (the “Andres

Facility”). They state that on July 16, 2012, the United States Environmental Protection Agency

(“USEPA”) conducted an unannounced inspection of the Andres Facility, and on August 17,

2012, issued a Notice and Finding of Violation, EPA-5-12-IL-14 (NOV) to Andres & Wilton

regarding violations at the facility, including, among other things, that Andres & Wilton was

operating the Andres Facility without necessary permits and in violation of the Illinois State

Implementation Plan (“SIP”) for the CAA.

       On September 5, 2012, plaintiffs allege that the USEPA issued a report on its inspection,

stating that the USEPA found: loose grains scattered on the facility’s yard; dusty dirt and gravel

driveways; dump pits without induced draft and open doors while grains were dumped; visible

emissions while trucks were unloading; lack of air pollution controls on the internal transferring

area; sleeves or equivalent devices not extended into trucks being loading; and visible emissions

while trucks were being loaded. The USEPA allegedly issued a Notice of Intent to File a Civil

and Administrative Complaint to Prior Owner on December 6, 2012.

       According to plaintiffs, Andres & Wilton filed a permit application with the Illinois

Environmental Protection Agency (“IEPA”) on September 28, 2012, and the IEPA issued a Joint

Construction and Revised Operating Permit on December 11, 2012. Plaintiffs allege that

defendant purchased the Andres Facility on or about February 27, 2013, and on April 10, 2013,



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the name on the IEPA-issued permit was changed from Andres & Wilton to defendant.

       Plaintiffs then allege that the IEPA issued a Revised Joint Construction and Revised

Operating Permit for the Andres Facility on or about October 30, 2013, which included a dump

pit modification to allow construction of “baghouse control” and the operation of emissions

sources and/or air pollution control equipment, including “Truck Loadout with Socks/Sleeves”

and “Grain Storage Bins” for one year.

       Plaintiffs further allege that on or about March 19, 2014, defendant entered into an

Administrative Consent Order (“the Consent Order”) with USEPA. According to plaintiffs, the

Consent Order required defendant to submit construction and operating permits, and to agree to

immediately implement compliance measures. Plaintiffs allege that on or about October 9, 2014,

the IEPA issued a revised permit to allow defendant, among other things, to construct new

cleaning and sorting equipment for one year. The IEPA allegedly further revised the permit on

or about December 3, 2015, to allow defendant to again construct new cleaning and sorting

equipment for one year. Plaintiffs allege that each of the permits state in paragraph 2a that:

       “No person shall cause or allow the emission of fugitive particulate matter from
       any process, including any material handling or storage activity that is visible by
       an observer looking generally toward the zenith (that is, looking at the sky
       directly overhead) from a point beyond the property line of the emission source,
       pursuant to 35 Ill. Adm. Code 212.301, except as exempted by 35 Ill. Adm. Code
       212.314.”

        According to plaintiffs, after defendant acquired the Andres Facility, it substantially

increased both the storage capacity and “throughput” of grain received, processed, and shipped

through the facility. Plaintiffs allege that the facility operates within 100 feet of Strebel’s

property, and since it began its operations, defendant has “caused fugitive dust and grain

emissions to fall onto and cover the Property with grain particulates.” Moreover, plaintiffs allege

that upon information and belief, defendant has operated without a valid operating permit since

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December 3, 2016, and has made modifications to the Andres Facility without an effective

construction permit.

         Plaintiffs complain that Strebel emailed to defendant pictures taken from his property of

defendant’s “illegal emissions and the impact on the Property.” Plaintiffs further complain that

they called the USEPA, which directed them to contact the IEPA. Plaintiffs allege that they then

“caused videos and pictures . . . to be forwarded to the IEPA,” and on or around May 20, 2022,

the IEPA directed plaintiffs to fill out a visible emissions log to submit to the IEPA, which they

submitted on September 12, 2022.

         According to plaintiffs, on September 19, 2022, plaintiffs notified the IEPA of

“unbelievable amounts of grain dust” being emitted from operations at the Andres Facility and

attached a picture and videos of grain dust. Plaintiffs allege that defendant’s operation of the

Andres Facility has caused “excessive fugitive grain dust to be emitted and to fall onto the

Property.” Plaintiffs state that the fugitive dust and grain emissions have “caused physical

distress and injury to Plaintiffs and to [the] Property, including causing even his horses to

become sick,” and Henning “in particular has suffered severe and permanent injuries as a result

of exposure to toxic grain dust.” 1 Plaintiffs allege that they “caused written notice to be

provided to the USEPA, IEPA, and Illinois Attorney General” regarding alleged violations of the

CAA on September 26, 2023.

         Plaintiffs also allege that on February 25, 2023, the IEPA issued a construction permit to

defendant with respect to construction of air pollution control equipment regarding a soy




1
  In Exhibit G (which is incorporated by reference into the complaint), plaintiffs’ counsel state that “grain dust has
trespassed onto [plaintiffs’] property and caused them property damage, costs, personal injury and injury to their
animals. In particular, Ms. Hennings had developed a form of environmentally-triggered lupus, has suffered painful
lung irritation and suffered a permanent injury to her eyes as a result of excessive and persistent fugitive grain dust
exposure.”

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dehulling process. Plaintiffs allege that on January 30, 2024, defendant operated its facility in

violation of the permit requirement by allowing the emission visible dust clouds from its

operations, and that this construction permit has expired and has not been renewed.

           Defendant filed a motion to dismiss (Doc. 27) that this court granted with regard to Count

II and denied on all other counts (Doc. 35). 2 After that ruling, defendant then filed an answer to

plaintiffs’ second amended complaint which included nine affirmative defenses and two

counterclaims. The affirmative defenses are as follows: (1) coming to the nuisance; (2) failure of

plaintiffs to mitigate injuries and damages; (3) failure to state a claim; (4) various equitable

claims; (5) compliance with all permits, statutes, and laws; (6) statute of limitations; (7) exercise

of reasonable care; (8) lack of notice in violation of 42 U.S.C. § 7604(b); and (9) that plaintiffs’

claim is barred under the Illinois Farm Nuisance Suit Act, 740 ILCS 70/3. Counterclaim I

alleges trespass and Counterclaim II is an action to quiet title.



                                                  DISCUSSION

           This memorandum and order will dispense with three separate motions: a motion to

reconsider, a motion to strike affirmative defenses, and a motion to dismiss counterclaims.

While these three motions all concern the same factual and legal background covered above, the

three motions will be discussed separately below for the sake of clarity.



                                             Motion to Reconsider

           As Judge Shadur once wrote: “this Court's opinions are not intended as mere first drafts,

subject to revision and reconsideration at a litigant's pleasure.” Quaker Alloy Casting Co. v.



2
    Strebel v. Scoular, No. 24-cv-00968, 2024 WL 3888798 (Aug. 21, 2024, N.D. Ill.).

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Gulfco Industries, Inc., 123 F.R.D. 282, 288 (N.D. Ill. 1988). Although motions to reconsider

are generally disfavored, they can be appropriate in certain circumstances. One such set of

appropriate circumstances is when there has been “a controlling or significant change in the

law…since the submission of the issue to the court.” Bank of Waunakee v. Rochester Cheese

Sales, Inc., 906 F.2d 1185, 1192 (7th Cir. 1990). 3

         Plaintiffs argue that the court should reconsider its order granting dismissal of Count II of

the second amended complaint in light of the Supreme Court’s recent ruling in Loper Bright

Enterprises v. Raimondo, 144 S.Ct. 2244 (2024). In Loper Bright, the Court overruled Chevron

v. Natural Resources Defense Council, 467 U.S. 837 (1984), a case that until recently guided

federal courts’ approach to statutory interpretation in administrative law. Plaintiffs’ argument

proceeds through a few steps to connect this court’s order to the Supreme Court’s decision in

Loper Bright. First, this court’s order relied on McEvoy v. IEI Barge Services, Inc., 622 F.3d

671 (7th Cir. 2010). Second, in McEvoy, although the Seventh Circuit did not cite Chevron

explicitly, its decision to deem the Visible Dust Regulation judicially unenforceable was an

application of Chevron principles, in that the court was following the broad rule of judicial

deference to agency interpretation in the face of ambiguity. And third, since Loper Bright

overruled Chevron, it implicitly overruled the McEvoy. Thus, plaintiffs argue, the court should

reconsider its order in response to a change in the governing law, which occurred after the

relevant briefing was completed.

         Defendant, in response, argues that the Supreme Court’s decision in Loper Bright is

entirely unrelated to McEvoy. Defendant points out that McEvoy cites neither Chevron nor the



3
  While the discrepancies in plaintiffs’ motion to reconsider (Doc. 36) are not substantive or misleading, the court
reminds litigants of the importance of accurately quoting authorities in their filings before the court. See Fed. R. Civ.
P Rule 11(b).

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Administrative Procedure Act, the statute at issue in Loper Bright. Defendant also points out that

McEvoy involved no agency action. Defendant also argues that Loper Bright, by its own terms,

does “not call into question prior cases that relied on Chevron framework” and held that “[m]ere

reliance on Chevron cannot constitute a ‘special justification’ for overruling such a holding.” 144

S.Ct. at 2273.

        The court disagrees with plaintiffs. Chevron and Loper Bright are cases about how courts

should interpret federal statutes in the face of ambiguity. Chevron commanded courts to defer to

federal agency interpretations in the face of uncertainty, and Loper Bright now instructs courts to

construe ambiguous federal statutes without requiring any deference to federal agency

interpretation. The Visible Dust Regulation at issue here and in McEvoy involves neither a

federal statute nor a federal agency interpretation. Plaintiffs’ misunderstanding of these

fundamental premises renders the remainder of their argument largely meaningless.

        Although neither party briefed the issue, there was indeed a federal statute at issue in

McEvoy: the CAA. In McEvoy, the ultimate statutory question that the Seventh Circuit

answered was whether the Illinois Visible Dust Regulation qualifies as an “emission limitation”

or “emission standard” under 42 U.S.C. §7602(k) that can support a citizen suit under 42 U.S.C.

§7604(f)(4). See McEvoy, 622 F.3d at 675 (explaining that “[t]heir argument on appeal can thus

be boiled down to the proposition that the Illinois provisions constitute ‘emission standards’ or

‘emission limitations’ under § 7602(k).”). In ruling that the Visible Dust Regulation is not

judicially enforceable, the Seventh Circuit decided that, as a matter of statutory interpretation,

the Illinois Visible Dust Regulation was not an emission standard or limitation that, if violated,

could form the basis for a citizen suit under the CAA. Thus, the Seventh Circuit in fact did

exactly what plaintiffs accuse it of failing to do: it interpreted the statute. Or, to use plaintiffs’



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preferred language from Marbury v. Madison, the Seventh Circuit fulfilled its “province and

duty…to say what the law is.” 5 U.S. 137, 177 (1803). 4 The Seventh Circuit interpreted the

statute with no deference paid to any federal agency interpretation, because, once again, there

was no agency interpretation, federal or otherwise, at issue. Thus, far from impliedly overruling

McEvoy, the Supreme Court’s decision in Loper Bright endorses the Seventh Circuit’s decision

in McEvoy, where the court did “not defer to an agency interpretation of the law simply because

a statute is ambiguous” and instead resolved the ambiguity in the CAA “by exercising

independent legal judgment.” Loper Bright, 144 S.Ct. at 2273, 2266. Consequently, plaintiffs’

motion to reconsider (Doc. 36) is denied.



                                   Motion to Strike Affirmative Defenses

         Rule 12(f) provides that “[t]he court may strike from a pleading an insufficient defense or

any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. Pro. 12(f). Courts

strike affirmative defenses when they are insufficient on their face. See Heller Fin., Inc. v.

Midwhey Powder Co., 883 F.2d 1286, 1294 (7th Cir. 1989). Motions to strike are appropriate to

“remove unnecessary clutter from the case,” but they are generally disfavored in this circuit

because they are often employed for the sole purpose of causing delay. Id.

         The Seventh Circuit has not yet decided whether affirmative defenses must comply with

the pleading requirements set forth in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007), and

Ashcroft v. Iqbal, 556 U.S. 662 (2009). The district courts within the circuit are divided on this




4
  Plaintiffs appear to argue that this court should reconsider its decision that relies on the Seventh Circuit’s holding
in McEvoy due to the command of Marbury v. Madsion that it is the “province and duty of the judicial department
to say what the law is.” 5 U.S. 137, 177 (1803). Suffice it to say that Marbury is close to as far away from “a
controlling or significant change in the law…since the submission of the issue to the court” as one can get. Bank of
Waunakee, 906 F.2d at 1192 (7th Cir. 1990).

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issue. See Cottle v. Falcon Holdings Mgmt., LLC, No. 2:11-CV-95-PRC, 2012 WL 266968, *1‒

2 (N.D. Ind. Jan. 30, 2012) (collecting cases). This court agrees generally with the courts that

have declined to apply the plausibility standard to affirmative defenses, for the reasons set forth

in Judge Seeger’s comprehensive and well-reasoned opinion in Alyin & Ramtin, LLC v.

Barnhardt, No. 19-CV-3402, 2022 WL 658786 (N.D. Ill. Mar. 4, 2022). Thus, “an affirmative

defense may be pleaded in general terms and will be held to be sufficient, and therefore

invulnerable to a motion to strike, as long as it gives the plaintiff fair notice of the nature of the

defense.” Id. at *2 (quoting 5 Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 1274 (4th ed. 2021)).



First Affirmative Defense: Coming to the nuisance

        Defendant argues that “[a]ll or part of Plaintiffs Christopher Strebel and/or Tracy

Henning’s private nuisance claim asserted against Scoular herein may be barred by the common

law defense of ‘coming to the nuisance.’” Plaintiffs, citing Oehler v. Levy, 234 Ill. 595 (1908),

argue that the common law defense of common to the nuisance has been abandoned in Illinois

law for over 100 years. Defendants argue that the “coming to the nuisance” defense is still alive

in Illinois law because the Illinois Farm Nuisance Suit Act (740 ILCS 70/1 et seq.) codifies the

coming to the nuisance doctrine. The court grants plaintiffs’ motion to strike. Even if defendant

is correct that the Illinois Farm Nuisance Suit Act (740 ILCS 70/1 et seq.) codifies the coming to

the nuisance doctrine (with exceptions), that defense is consequently a statutory, and not a

common law, defense. See Guth v. Tazewell County, 698 F.3d 580, 584 (7th Cir. 2012).

Consequently, the court grants plaintiffs’ motion to strike the first affirmative defense.




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Fourth Affirmative Defense: Equitable doctrines

       The entirety of defendant’s fourth defense is as follows: “Plaintiffs’ equitable claims

alleged herein may be barred, in whole or in part, by the equitable doctrines of estoppel, laches,

waiver, and/or unclean hands.” While these defenses are affirmative defenses listed in Rule

8(c)(1), defendant fails to give plaintiffs “fair notice of the nature of the defense.” Alyin &

Ramtin, 2022 WL 658786, at *2. First, defendant does not identify which of the listed defenses

it intends to invoke. Second, defendant pleads only that these defenses “may” bar plaintiffs’

equitable claims “in whole or part.” Third, while this court does not require defendant to plead

factual content that meets the Twombly-Iqbal plausibility standard, defendant’s boilerplate

pleading is so devoid of factual context that plaintiffs cannot begin to understand the nature of

the defenses. See Consumer Financial Protection Bureau v. TransUnion, 701 F.Supp.3d 744,

752 (N.D. Ill. 2023) (striking similarly pled equitable defenses because they “fail under even a

fair notice standard.”). Because these defenses fail to give plaintiffs fair notice, the court grants

plaintiffs’ motion to strike the fourth affirmative defense.



Fifth Affirmative Defense: Compliance with all permits, statutes and law

       The entirety of defendant’s fifth affirmative defense is as follows: “In regard to Plaintiffs’

allegations against Scoular, Scoular and its Andres Facility have operated in compliance with

terms and limitations issued permits, applicable statutes and law, which would bar Plaintiffs’

claims under the CAA and negligence.” Plaintiffs ask the court to strike this defense on the basis

of pleading insufficiencies, because plaintiffs contend that this defense is just a matter put into

issue by a denial of allegations in Count I, and the merits. Defendant responds that the defense is

more than just a matter put into issue by denial but rather constitutes a greater defense to all of



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plaintiffs’ claims. Defendant also urges the court not to strike the defense on the merits as

“determining the merits of this defense goes to the very heart of at least part of plaintiffs’ case:

whether Scoular violated the CAA.”

       The court agrees with defendants that this defense is more than a matter put into issue by

denial, as it could serve as a defense to claims beyond plaintiffs’ CAA claim in Count I, such as

plaintiffs’ nuisance and negligence claims. In addition, the court finds that plaintiffs primarily

argue against the merits of the defense, raising substantial questions of law that are better

decided after factual development. Thus, the court denies plaintiffs’ motion to strike defendants’

fifth affirmative defense.



Seventh Affirmative Defense: Exercise of reasonable care

       The entirety of defendant’s seventh affirmative defense is as follows: “At all times

relevant to the case at hand, Scoular has exercised reasonable care in the construction and

operation of the Andres Facility.” Plaintiffs argue that “reasonable care” is not available as an

affirmative defense as to the violations of the CAA alleged in Count I because it is not provided

for in the statute. As to Count III for private nuisance, plaintiffs argue that reasonable care is not

relevant to the law of nuisance. What remains of the seventh affirmative defense, plaintiffs

argue, is a negation of the necessary element of breach of duty in Count IV for negligence.

Defendant responds that the exercise of reasonable care is relevant to a potential penalty

determination if the court later finds defendant liable for violation of the CAA.

       The court agrees with plaintiffs. The exercise of reasonable care is not available as an

affirmative defense for liability under the CAA. Defendant concedes as much. While defendant

is correct that its “good faith efforts to comply” will be taken into consideration at the penalty



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phase, that is an argument that defendant can make at that time if it comes. See 42 U.S.C. §

7413(e). 5 As plaintiffs argue, reasonable care is not relevant to liability under a nuisance claim.

See Richards v. Village of Edinburg, 239 N.E.2d 479, 481 (Ill. App. 5th 1968). (explaining that

“a nuisance may be created or maintained with the best or highest degree of care.”). Defendant

did not attempt to respond to this argument, nor plaintiffs’ argument that exercise of reasonable

care is simply a denial of the breach element of negligence under Illinois law. See Kellermann v.

Car City of Chevrolet-Nissan, Inc., 713 N.E.2d 1285, 1287 (Ill. App. 1st 1999) (explaining that

“[i]n a negligence action, one of the essential elements is the existence of a duty to exercise

reasonable care.”). By arguing that it exercised reasonable care, defendant is simply arguing that

it did not breach its duty to do so. As defendant’s seventh affirmative defense is facially

insufficient as a matter of law, the court grants plaintiffs’ motion to strike it.



Ninth Affirmative Defense: Farm Nuisance Suit Act

         Defendant’s ninth affirmative defense is as follows: “Plaintiffs’ private nuisance claim is

barred under the Illinois Farm Nuisance Suit Act, 740 ILCS 70/3.” Plaintiffs argue that this

affirmative defense should be stricken because defendant does not operate a “farm” as defined in

section two of the Illinois Farm Nuisance Suit Act because its activities on the land qualify as a

“agriculture adjacent” rather than “agricultural use” under the act. 6 Without reaching the

substance of defendant’s response, the court finds that plaintiffs are asking the court to adjudge

defendant’s ninth affirmative defense on the merits, which the court declines to do at this stage

before further factual development.


5
 Both parties erroneously cited to 42 U.S.C. § 7613(e) instead of 42 U.S.C. § 7413(e).
6
 As this court has declined to apply the plausibility standard to affirmative defenses, plaintiffs’ argument that
defendant’s ninth affirmative defense should be struck because of factual insufficiency is not considered by the
court.

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                                Motion to Dismiss Counter Claims

        Defendant included two counterclaims in its answer to plaintiffs’ second amended

complaint. Count I, trespass, alleges that, “Plaintiffs intentionally entered the Scoular Property to

construct, or cause to be constructed” “three sheds that are partially or fully located on the

Scoular Property.” Count II, quiet title, alleges that, “Plaintiffs’ construction and maintenance of

[the three sheds] on Scoular’s Property creates a dispute as to the ownership of the property upon

which Plaintiffs constructed and maintain [the three sheds], a false semblance of title to the

Scoular Property, and/or a cloud upon Scoular’s title to the Scoular Property.”

        Plaintiffs argue that the court should dismiss both counterclaims because it lacks

supplemental jurisdiction over them, or, alternatively, that the court should use its discretion to

decline to exercise supplemental jurisdiction over these counterclaims. Defendant argues that

the court is permitted to exercise supplemental jurisdiction over the counterclaims and should

exercise its discretion to do so.

        As plaintiffs ask the court to dismiss defendant’s counterclaims for lack of jurisdiction,

the court will evaluate the motion under the standards for Rule 12(b)(1), even though the

plaintiffs do not categorize their motion as such. The Seventh Circuit has held that “when

evaluating a facial challenge to subject matter jurisdiction under Rule 12(b)(1), a court should

use Twombly–Iqbal's ‘plausibility’ requirement, which is the same standard used to evaluate

facial challenges to claims under Rule 12(b)(6).” Silha v. ACT, Inc., 807 F.3d 169, 174 (7th Cir.

2015). When reviewing a motion to dismiss, this court “must accept all well-pleaded factual

allegations as true and draw all reasonable inferences in favor of the plaintiff.” Id. at 173. A

plaintiff, here cross-plaintiff, faced with a 12(b)(1) motion to dismiss bears the burden of

establishing that the jurisdictional requirements have been met. Center for Dermatology and



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Skin Cancer, Ltd. v. Burwell, 770 F.3d 586, 589 (7th Cir. 2014).

       Supplemental jurisdiction is authorized by Congress under 28 U.S.C. § 1367(a). “The

statute confers supplemental jurisdiction to the limits Article III of the Constitution permits,

authorizing federal courts to hear all claims that ‘are so related to claims in the action within

such original jurisdiction that they form part of the same case or controversy.’” Ammerman v.

Sween, 54 F.3d 423, 424 (7th Cir. 1995) (quoting 28 U.S.C. § 1367(a)). Accordingly, “[t]wo

claims are part of the same case or controversy if they derive from a common nucleus of

operative facts.” Sanchez & Daniles v. Koresko, 503 F.3d 610, 614 (7th Cir. 2007) (internal

quotations and citations omitted). While “a loose factual connection between the claims is

generally sufficient,” “the facts connecting them must nonetheless be operative in determining

the outcome of the federal claim.” Mata v. Deslauriers, Inc., No 21-CV-3976, 2023 WL

6065478, at *1 (N.D. Ill. Sep. 18, 2023). See also General Auto Service Station v. City of

Chicago, No. 00-C-0368, 2004 WL 442636, at *12 (N.D. Ill. Mar. 9, 2004) (denying

supplemental jurisdiction where the outcomes of the supplemental claim and original claim

would have no mutual effect); Saud v. DePaul University, No. 19-CV-3945, 2019 WL 5577239,

at *8 (N.D. Ill. Oct. 29, 2019) (denying supplemental jurisdiction where “none of the facts

necessary to resolution of the state law claims are more than tangentially related to sole

remaining federal claim”). “To be ‘operative’ the facts must be ‘relevant to the resolution of’ the

federal claims.” Mata v. Deslauriers, Inc., 2023 WL 6065478, at *1 (quoting United States v.

Clark, No. 08-C-4158, 2010 WL 476637, at * 1 (N.D. Ill. 2010)).

       Even if the court determines that it is authorized to exercise supplemental jurisdiction, it

is not bound to do so. A court is permitted to decline to exercise supplemental jurisdiction if “(1)

the claim raises a novel or complex issue of State law, (2) the claim substantially predominates



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over the claim or claims over which the district court has original jurisdiction, (3) the district

court has dismissed all claims over which it has original jurisdiction, or (4) in exceptional

circumstances, there are other compelling reasons for declining jurisdiction.” 28 U.S.C.

§1367(c). With those principles in mind, the court will first analyze whether it is authorized to

exercise supplemental jurisdiction, and, if so, will next analyze whether there are reasons for the

court to decline to do so.

       The first issue is whether the court has supplemental jurisdiction over defendant’s state

law counter claims. The decisive determinant of this issue is whether the state law counter

claims arise from a common nucleus of operative fact as the claims over which the court already

has subject matter jurisdiction. Plaintiffs argue that the “sole connective tissue between

Plaintiffs’ claims and Scoular’s counterclaims is the identity of the parties.” According to

plaintiffs, none of their claims will rise and fall based on the outcome of defendant’s property

line counterclaims. In response, defendant correctly identifies the source of this court’s original

subject matter jurisdiction over plaintiffs’ claims—diversity jurisdiction over the three remaining

counts and federal question jurisdiction over the CAA claim in Count I—and that the court will

look to all three of these claims to determine whether they share the same nucleus of operative

fact with defendant’s counterclaims. Defendant argues that its property-line related

counterclaims are derived from the same nucleus of operative facts as the common law nuisance

claim, because a prospective private nuisance claim must allege a property interest under threat

of invasion.

       The court disagrees with the defendant. The outcome of defendant’s trespass and quiet

title counterclaims will have no bearing on the outcome of plaintiffs’ CAA claim (Count I),

nuisance claim (Count III), or negligence claim (Count IV). Section 7604(a) of the CAA



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authorizes private citizens to bring “citizens suits” in federal court against “any person … who is

alleged to have violated … or to be in violation of (A) an emission standard or limitation under

this chapter or (B) an order issued by the Administrator or a State with respect to such a standard

or limitation.” 42 U.S.C. § 7604(a)(1). The statute governing plaintiffs’ ability to bring a citizen

suit does not require property ownership.

        Defendant is correct that to support the nuisance claim, plaintiffs must allege a property

interest under threat of invasion. But even if defendant is fully vindicated on its counterclaims,

plaintiffs still possess a property that they allege has been invaded by fugitive grain dust

emissions. Neither of defendant’s counterclaims allege that defendant owns the entirety or even

a substantial portion of the plaintiffs’ property, which includes the single-family home that they

reside in. Instead, defendant’s counterclaim disputes the location of three sheds. Therefore,

plaintiffs’ nuisance action will rise and fall regardless of the outcome of defendant’s trespass and

quiet title actions.

        In briefing, defendant does not attempt to argue that plaintiffs’ negligence claim shares a

common nucleus of operative fact with its counterclaims. For the sake of completeness, the

court notes that there is no relationship between the operative facts of defendant’s counterclaims

and plaintiffs’ negligence claim. Like the nuisance claim, the negligence claim does require a

foundational factual showing that defendant owned some property, because plaintiffs allege that

defendant “breached its duty of care towards Plaintiffs by failing to prevent substantial pollution

onto Plaintiffs’ property.” And like the nuisance claim, plaintiffs’ ability to make this showing

will not be affected by the outcome of either of defendant’s counterclaims. Even if defendant’s

quiet title and trespass counterclaims regarding the location of the three sheds are completely

vindicated, there is no dispute that plaintiffs own a property, including a single-family residence,



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adjacent to the Andres Facility.

       All three of the remaining counts in plaintiffs’ second amended complaint, the remaining

CAA citizen suit claim, the nuisance claim, and the negligence claim, will rise and fall regardless

of the outcome of defendant’s trespass and quiet title counterclaims. The converse is also true.

Defendant’s quiet title and trespass claims will rise and fall regardless of the outcome of

plaintiffs’ three claims. Therefore, defendant’s counterclaims and plaintiff’s claims do not share

a common nucleus of operative facts, because the facts connecting them are not operative; the

facts shared between the two sets of claims are not relevant to the resolution of any claim in

either of the two sets. See Mata, 2023 WL 6065478, at * 1; General Auto Service, 2004 WL

442636, at *12; Saud v. DePaul University, 2019 WL 557723, at *8. Ultimately, defendant’s

counterclaims are not “so related to claims in the action within such original jurisdiction that

they form part of the same case or controversy.’” Ammerman, 54 F.3d at 424. Consequently, the

court grants plaintiffs’ motion to dismiss the counterclaims.



                                         CONCLUSION

       For the reasons stated above, plaintiffs’ motion to reconsider (Doc. 36) is denied;

plaintiffs’ motion to strike affirmative defenses (Doc. 41) is granted in part with respect to

defendant’s first and seventh affirmative defenses and denied with respect to all other affirmative

defenses; and plaintiffs’ motion to dismiss counterclaims (Doc. 42) is granted without prejudice.

                                       ENTER:



                                              _________________________________________
                                              Robert W. Gettleman
                                              United States District Judge
DATE: November 27, 2024

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